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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


                                                      )
 REPUBLIC OF GUATEMALA,                               )
                                                      )
                         Petitioner,                  )
                                                      )
                          v.                          )     Civil Case No. 1:22-cv-00394 (CM)
                                                      )
 IC POWER ASIA DEVELOPMENT LTD.,                      )
                                                      )
                         Respondent.                  )
                                                      )



                               [Pl<af<nmHf'l)EFAULT JUDGMENT

       This action having been commenced on January 14, 2022, by the filing of the Summons

and Petition to Recognize Arbitration Award ("Petition"), and a copy ofthe Summons and Petition

having been served on Respondent, IC Power Asia development Ltd. ("ICPA"), on September 5,

2022, through a mail delivery of these documents on ICPA's agent, Gomitzky & Co, and a proof

of service having been filed on September 7, 2022, and ICPA having not answered the Petition,

and the time for answering the Petition having expired, it is,

       ORDERED, ADJUDGED, AND DECREED: That the Petitioner have judgment against

ICPA in the liquidated amount of$ 1,803,042.61 plus pre-judgment interest calculated 9% per

annum in the amount of $357,002.44 and post-judgment interest at the rate specified in 28

U.S.C.A. § 1961.

       ORDERED, ADJUDGED, AND DECREED: That Petitioner's request to submit its

motion for costs and attorneys' fees of this civil proceeding within 14 days of the issuance of this

Order and Judgment is granted.
